 Case 3:16-cv-00296-K Document 7 Filed 03/22/16               Page 1 of 2 PageID 33



                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

TERRY J. OSSMAN and COLLEEN §
OSSMAN,                     §
                            § CIVIL CASE NO. 3:16-cv-00296-K
     Plaintiffs,            §
                            § MASTER DOCKET NO. 3:11-md-02244
VS.                         §
                            § HON. ED KINKEADE
DEPUY ORTHOPAEDICS, INC.,   §
DEPUY PRODUCTS, INC., DEPUY §
INTERNATIONAL, LTD.,        §
JOHNSON                     §
& JOHNSON, and JOHNSON &    §
JOHNSON SERVICES, INC.,     §
                            §
     Defendants.            §
                            §

                      J. KYLE BACHUS’ UNOPPOSED MOTION
                     TO WITHDRAW AS ATTORNEY OF RECORD

       J. Kyle Bachus respectfully moves this Court for an order approving his

withdrawal as attorney as attorney of record in the instant matter, and in support thereof

states as follows:

       1.      Terry J. Ossman and Colleen Ossman retained the law firm of Bachus &
               Schanker, LLC.

       2.      Bachus & Schanker, LLC was recently notified that Terry J. Ossman and
               Colleen Ossman have retained other counsel to represent them for this
               matter.

       Accordingly, J. Kyle Bachus respectfully requests that this Court withdraw him as

attorney of record for this matter and remove him from the ECF distribution.

DATED: March 22, 2016




                                       Page 1 of 2
 Case 3:16-cv-00296-K Document 7 Filed 03/22/16              Page 2 of 2 PageID 34




                                            Respectfully submitted,

                                            /s/ J. Kyle Bachus
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                                            Fax: (303) 893-9900
                                            kyle.bachus@coloradolaw.net
                                            Attorney for Plaintiff


                        CERTIFICATE OF CONFERENCE

       On March 18th, 2016, my office conferred by email with the offices of Michael

Powell, Jessica Miller, and Seth Roberts, counsel for Defendants, and requested their

position on J. Kyle Bachus’ Motion to Withdraw as Attorney. Mr. Powell advised on

behalf of Ms. Miller and Mr. Roberts that Defendants do not oppose the motion. The

email confirming Mr. Powell’s response is attached hereto as Exhibit A.

                                            /s/ J. Kyle Bachus
                                            J. Kyle Bachus


                           CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was served on all counsel of record

via the Court’s CM/ECF electronic filing system on March 22, 2016.

                                            /s/ J. Kyle Bachus
                                            J. Kyle Bachus




                    J. KYLE BACHUS’ UNOPPOSED MOTION
                   TO WITHDRAW AS ATTORNEY OF RECORD
                                 Page 2 of 2
